                                                                       Case 1:12-cr-00320-JLT-BAM Document 33 Filed 08/29/13 Page 1 of 3


                                                                  1    LAW OFFICES OF YAN E. SHRAYBERMAN
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                                                                       Fresno, California 93709
                                                                  3    Telephone:     (559) 779-2315
                                                                       Facsimile:     (213) 352-1010
                                                                  4
                                                                       Attorney for Defendant
                                                                  5    MIGUEL MANZO

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                                                                                                          UNITED STATES DISTRICT COURT,
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                                                                                                         EASTERN DISTRICT OF CALIFORNIA
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                                                                       UNITED STATES OF AMERICA,                                       Court Case#: 1:12-cr-00320-AWI-BAM (003)
LAW OFFICES OF YAN E. SHRAYBERMAN




                                                                  12
                                                                                           Plaintiff,                                    STIPULATION AND O R D E R ON
                                                                  13                                                                        TEMPORARY MODIFICATION OF
                                    Fresno, CALIFORNIA 91724
                                    2131 Kern Street, Suite 131

                                    Telephone: (213)379-2315
                                    Facsimile: (213) 352 -1010




                                                                       v.                                                                   CONDITIONS OF RELEASE
                                                                  14
                                                                       MIGUEL MANZO
                                                                  15
                                                                                           Defendant.
                                                                  16

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                                                                               Defendant MIGUEL MANZO, though his counsel, respectfully requests that he be allowed to
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                                                                       temporarily modify the conditions of his pre-trial release. Mr. MANZO wishes to travel overnight to
                                                                  19
                                                                       Central District, to the City of Santa Ana for a family reunion. He requests for a leave on august 30 th,
                                                                  20   2013 after his work at 5pm and return on September 3rd, 2013 at 9pm. Mr. MANZO will abide by the
                                                                  21   curfew while in Santa Ana and will check in with his pre-trial officer. On September 3rd, he will
                                                                  22   return to Fresno and will continue to be actively supervised by the Pre-Trial Services.
                                                                  23           MR.MANZO, never had any serious violations while on pre-trial release. In all likelihood,
                                                                  24   this is his last family reunion for a very long time. He wishes to spend as much time with his young

                                                                  25   child and family as he can before his incarceration.

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                                                                                         Order on [ Proposed] Motion to Modification of Pre-Trial Conditions                  -1-
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                                                                               This counsel has spoken with the counsel for the government and there is no objection to this
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                                                                       temporary change of the conditions of his pretrial release. Likewise, Dan Stark of Pre-Trial Services
                                                                  3    and he also indicated that if the U.S. Attorney doesn’t object he would not object either.
                                                                  4

                                                                  5            Date:8/29/2013                                          /s/Yan E. Shrayberman
                                                                  6                                                                    YAN E. SHRAYBERMAN
                                                                  7            Date:8/29/2013                                          /s/ Miguel Manzo
                                                                  8                                                                    MIGUEL MANZO

                                                                  9            Date:8/29/2013                                          /s/Kimberly Sanchez

                                                                  10                                                                   KIMBERLY SANCHEZ.

                                                                  11
LAW OFFICES OF YAN E. SHRAYBERMAN




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                                                                  1                                    UNITED STATES DISTRICT COURT,
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                                                                  3                                    EASTERN DISTRICT OF CALIFORNIA
                                                                  4

                                                                  5    UNITED STATES OF AMERICA,                        Court Case#: 1:12-cr-00320-AWI-BAM (003)

                                                                  6                       Plaintiff,                     STIPULATION AND O R D E R ON
                                                                                                                            TEMPORARY MODIFICATION OF
                                                                  7    v.                                                   CONDITIONS OF RELEASE

                                                                  8    MIGUEL MANZO

                                                                  9                       Defendant.

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                                                                  11           IT IS ORDERED, that the conditions of MIGUEL MANZO’s pretrial release are hereby
LAW OFFICES OF YAN E. SHRAYBERMAN




                                                                  12   modified to reflect that MIGUEL MANZO may travel to the Central District, to the city of Santa Ana

                                                                  13   on August 30th, 2013 and returning on September 3rd, 2013 and 9pm, and to any other condition that
                                    Fresno, CALIFORNIA 91724
                                    2131 Kern Street, Suite 131

                                    Telephone: (213)379-2315
                                    Facsimile: (213) 352 -1010




                                                                       pre-trial officer deems necessary.
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                                                                       IT IS SO ORDERED.
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                                                                  17        Dated:   August 29, 2013                            /s/ Barbara A. McAuliffe              _
                                                                                                                         UNITED STATES MAGISTRATE JUDGE
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